        Case 3:16-md-02741-VC Document 11160 Filed 07/06/20 Page 1 of 4




                        UNITED STATES DISTRICT COURT

                     NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                        )      MDL No. 2741
LIABILITY LITIGATION                           )
                                               )      Master Docket Case No. 1
                                               )      16-md-02741-VC
                                               )
This document relates to:                      )      Honorable Vince Chhabria
                                               )
Aubrey R. Aden                                 )      Case No: ​19-cv-1849-VC
                                               )
       v.                                      )
                                               )
Monsanto Company                               )

***********************************************
             PLAINTIFF’S MOTION TO SUBSTITUTE PARTY

       NOW COMES, ​ELAINE T. ADEN, designated as the Executor of the Estate of

AUBREY R. ADEN, and who now brings her Motion to Substitute as the proper party

Plaintiff, and would state in support thereof the following, as to wit:

                                               1.

       The Plaintiff, Aubrey R. Aden departed this life on March 23, 2020. ​(See

Exhibit “A” attached hereto identified as “Death Certificate”)​.

                                               2.

       Aubrey R. Aden, was the Plaintiff in a civil matter being brought for personal

injuries secondary to wrongful conduct by the Defendant, Monsanto Company entitled,

Aubrey R. Aden v. Monsanto Company, Case No.​19-cv-1849-VC​; Master Case No.
        Case 3:16-md-02741-VC Document 11160 Filed 07/06/20 Page 2 of 4




16-md-02741-VC, MDL NO. 2741 in the above styled cause.

                                               3.

       Mrs. Elaine T. Aden, desires to be substituted as the proper party Plaintiff

pursuant to ​MS. Code §​ 11-7-13​, et seq., and Fed. R. Civ. P. 25(a)(1), et seq.

                                                4.

       On July 5th, 2011, Mr. Aubrey R. Aden, properly executed a Last Will and

Testament, appointing his spouse, Elaine T. Aden, as Executor of the Estate of Aubrey

R. Aden. ​(See Exhibit “B” attached hereto as “The Last Will and Testament of

Aubrey R. Aden”).

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, ELAINE T. ADEN,

prays that the Motion to Substitute the Proper Party Plaintiff, ELAINE T. ADEN, be

granted herein as follows:

       1.       That Mrs. Elainte T. Aden, has been designated as the Executor of the

Estate of Aubrey R. Aden, by way of a properly executed Last Will and Testament,

dated the 5th day of July, 2011;

       2.      That Mrs. Elaine T. Aden, is the proper party Plaintiff to bring this

Wrongful Death Action pursuant to​ Fed. R. Civ. P. 25(a)(1);​

       2.      That Mrs. Elaine T. Aden, is the proper party Plaintiff to bring a

Wrongful Death Action pursuant to​ ​MS Code § 91-7-233​, et seq​.

       4.      That Mrs. Elaine T. Aden, is the proper party Plaintiff to bring a Survival

                    ​ S Code § 91-7-233​, et seq.; and
Action pursuant to​ M
       Case 3:16-md-02741-VC Document 11160 Filed 07/06/20 Page 3 of 4




       5.     That the Caption in this entitled cause be and is hereby identified as

“Elaine Sylvia T. Aden, individually, and as successor in interest for the estate of

Aubrey R. Aden, deceased” in place of Aubrey R. Aden.

Dated 6th day of July, 2020

                                          Respectfully submitted:

                                          S/David R. Aden
                                          _______________________
                                          DAVID R. ADEN
                                          (LA BAR NO. 30373)
                                          (TX BAR NO. 24105005)
                                          LAW OFFICES OF DAVID ADEN
                                          201 ST. CHARLES AVE., SUITE 2500
                                          NEW ORLEANS, LA 70170
                                          (T) 504-599-5941
                                          (F) 504-684-1377
                                          Attorneys for Elaine T. Aden
Case 3:16-md-02741-VC Document 11160 Filed 07/06/20 Page 4 of 4




                      CERTIFICATE OF SERVICE

I, David R. Aden, hereby certify that, on July 6, 2020, I electronically filed the

foregoing with the Clerk for the United States District Court for the Northern

District of California using the CM/ECF system, which shall send electronic

notification to counsel of record, in accordance and in a manner as authorized by

F.C.R.P. 5(b)2.

                            S/David R. Aden
                      ____________________________
                          DAVID R. ADEN
